Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 1 of 22 Page ID #:2984



   1   Kenneth D. Freundlich (SBN 119806)
       Michael J. Kaiser (SBN: 258717)
   2   FREUNDLICH LAW
       16133 Ventura Boulevard, Suite 645
   3   Encino, CA 91436
       P: (310) 275-5350
   4   F: (310) 275-5351
       E-Mail: ken@freundlichlaw.com
   5            mkaiser@freundlichlaw.com
   6   Attorneys for Defendants RIMAS MUSIC, LLC
       and BENITO ANTONIO MARTINEZ OCASIO
   7   P/K/A BAD BUNNY
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                                WESTERN DIVISION
  11 CLEVELAND CONSTANTINE                          CASE NO. 2:21-cv-02840-AB-AFM
     BROWNE., an individual, et al.
  12                                                Assigned To: Hon. Andre Birotte Jr.
              Plaintiffs,
  13
         v.                                         BAD BUNNY AND RIMAS
  14                                                MUSIC’S NOTICE OF MOTION
     RODNEY SEBASTIAN CLARK                         AND MOTION TO DISMISS
  15 DONALDS, an individual, et al.,                PLAINTIFFS’ SECOND
                                                    CONSOLIDATED AMENDED
  16              Defendants.                       COMPLAINT PURSUANT TO FED.
                                                    R. CIV. P. 12(b)(6)
  17
                                                    Hearing Date: September 22, 2023
  18                                                Hearing Time: 10:00 a.m.
  19                                                Courtroom: 7B

  20
                                                    Declaration of Kenneth D.
  21                                                Freundlich, Esq., Notice of Manual
  22                                                Lodging, and [Proposed] Order
                                                    Filed Concurrently Herewith
  23
  24
  25 TO THIS HONORABLE COURT AND TO ALL PARTIES AND THEIR
  26 COUNSEL OF RECORD HEREIN:
  27        Please take notice that on September 22, 2023 at 10:00 a.m., or as soon

  28 thereafter as this matter may be heard, in Courtroom 7B of the Honorable Andre

                                               1             Case No. 2:21-cv-02840-AB-AFM
       BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
          SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 2 of 22 Page ID #:2985



   1 Birotte Jr. of the United States District Court for the Central District of California,
   2 First Street U.S. Courthouse, located at 350 W. 1st Street, Los Angeles, CA 90012,
   3 Defendants Rimas Music, LLC (“Rimas”) and Benito Antonio Martinez Ocasio p/k/a
   4 Bad Bunny (“Bad Bunny”) will, and hereby do, move the Court for an order pursuant
   5 to Fed. R. Civ. P. 12(b)(6)1:
   6        1.     Dismissing Plaintiffs’ operative Second Consolidated Amended
   7               Complaint (the “SCAC”) as to Bad Bunny and Rimas with respect to the
   8               SCAC’s claims that Bad Bunny and Rimas allegedly infringed the
   9               copyrights in Plaintiffs’ purported musical compositional material. The
  10               bases for such dismissal are that: (i) Plaintiffs do not and cannot
  11               plausibly allege that any of the elements purportedly appropriated by
  12               Bad Bunny and Rimas (the “Subject Elements”) are musical
  13               composition elements that are entitled to copyright protection; and/or
  14               (ii) the allegations in the SCAC, as well as excerpts from a book
  15               incorporated by reference therein, establish as a matter of law that the
  16               rhythm of Plaintiffs’ alleged works (i.e., the only compositionally
  17               relevant element of the Subject Elements) is unprotectable scenes a
  18               faire; and/or
  19        2.     Dismissing Plaintiffs’ SCAC in whole or in part due to various pleading
  20               defects.
  21        Bad Bunny and Rimas pray that such dismissal be with prejudice and without
  22 leave to amend on the grounds of legal insufficiency and/or the otherwise futility in
  23 any further amendment.
  24        This Motion is based upon the following Memorandum of Points and
  25 Authorities incorporated herein by reference, the Declaration of Kenneth D.
  26
  27 1 Given the briefing schedule set forth in the Court’s Case Management Order (Doc.
  28 No. 143), September 22, 2023 is the earliest open hearing date that works with all
     Defendants’ counsel’s schedules. Declaration of Kenneth D. Freundlich, Esq. ¶2.
                                                  2          Case No. 2:21-cv-02840-AB-AFM
       BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
          SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 3 of 22 Page ID #:2986



   1 Freundlich, Esq. (“Freundlich Decl.”) (and exhibits thereto) filed concurrently
   2 herewith, the Notice of Manual Lodging (and the audio files referenced thereby)
   3 concurrently filed herewith, any Reply Brief (including other papers filed in in
   4 further support of the Motion), the pleadings and papers filed in this action, and on
   5 such oral argument as may be presented at the hearing of this Motion.
   6        On November 23, 2022, Bad Bunny and Rimas formally initiated the L.R. 7-3
   7 meet-and-confer process via letter expressing Bad Bunny and Rimas’ intent to bring
   8 the instant motion and specifying grounds for such motion. See Freundlich Decl. ¶3.
   9 On November 30, 2022 and again on June 5, 2023, counsel for the parties
  10 telephonically/via Zoom met-and-conferred pursuant to L.R. 7-3. Id.
  11 Dated: June 15, 2023
  12                                         FREUNDLICH LAW
  13
                                             BY: /s/ Kenneth D. Freundlich
  14                                         Kenneth D. Freundlich
                                             Michael J. Kaiser
  15
                                             Attorneys for Defendants
  16                                         RIMAS MUSIC, LLC and BENITO
                                             ANTONIO MARTINEZ OCASIO P/K/A
  17
                                             BAD BUNNY
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                3            Case No. 2:21-cv-02840-AB-AFM
       BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
          SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 4 of 22 Page ID #:2987



   1                                         TABLE OF CONTENTS
   2 TABLE OF AUTHORITIES .....................................................................................5
   3 MEMORANDUM OF POINTS AND AUTHORITIES...........................................7
   4 I.       INTRODUCTION ...........................................................................................7
   5 II.      BRIEF SUMMARY OF PLAINTIFFS’ ALLEGATIONS ............................9
   6 III.     LEGAL STANDARDS .................................................................................11
   7          A.      The Governing Substantive Standard of Substantial
                      Similarity and Plaintiffs’ Concomitant Burden as to the
   8                  Dispositive Extrinsic Test Component Thereof..................................11
   9          B.      Under Controlling Ninth Circuit Precedent, Dismissing
                      Plaintiffs’ Musical Composition Infringement Claims at the
  10                  Pleading Stage is Appropriate .............................................................12
  11 IV.      LEGAL ARGUMENT ..................................................................................14
  12          A.      The Court Should Dismiss the SCAC’s Claims as to any
                      Copyright Infringement of Plaintiffs’ Musical
  13                  Compositional Material Because the Allegedly
                      Appropriated Subject Elements Are Not Compositionally
  14                  Relevant or Protectable .......................................................................14
  15                  1.       Plaintiffs’ Musical Composition Infringement
                               Claims Must Be Dismissed Because Plaintiffs Do
  16                           Not (and Cannot) Plausibly Allege Infringement of
                               Any Protectable Compositional Material .................................15
  17
                      2.       Plaintiffs’ Musical Composition Infringement
  18                           Claims Also Fail Because Such Claims Rely Upon
                               Unprotectable Scenes a Faire ...................................................17
  19
              B.      The SCAC is Also Subject to Dismissal in Whole or in Part
  20                  Due to Certain Pleading Defects .........................................................20
  21                  1.       Impermissible Shotgun Pleading ..............................................20
  22                  2.       Inadequate Pleading of Which Portions of Plaintiffs’
                               Songs Have Purportedly Been Infringed ..................................20
  23
                      3.       Inadequate Pleading of Secondary Liability .............................20
  24
       V.     CONCLUSION .............................................................................................21
  25
       CERTIFICATE OF COMPLIANCE (L.R. 11-6.2) ................................................22
  26
  27
  28

                                                               4
                                                              Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 5 of 22 Page ID #:2988



   1                                           TABLE OF AUTHORITIES
   2                                                                                                                        Page(s)
   3 Federal Cases
   4
     YZ Prods., Inc. v. Redbubble, Inc.,
   5    545 F.Supp.3d 756 (N.D. Cal. 2021).................................................................. 20
   6 A&M Records v. Napster, Inc.,
   7   239 F.3d 1004 (9th Cir. 2000) ............................................................................ 21
   8 Batiste v. Najm,
        28 F. Supp. 3d 595 (E.D. La. 2014) ............................................................... 8, 16
   9
  10 Campbell v. Walt Disney Co.,
        718 F. Supp. 2d 1108 (N.D. Cal. 2010).............................................................. 20
  11
     Christianson v. W. Pub. Co.,
  12
        149 F.2d 202 (9th Cir. 1945) .............................................................................. 13
  13
     Erickson v. Blake,
  14    839 F. Supp. 2d 1132 (D. Or. 2012) ............................................................. 12, 13
  15
     Gray v. Perry,
  16    2020 WL 1275221 (C.D. Cal. Mar. 16, 2020), affirmed by Gray v.
  17    Hudson, 28 F.4th 87 (9th Cir. 2022) ........................................................... passim

  18 Henley v. DeVore,
        733 F. Supp. 2d 1144 (C.D. Cal. 2010) .............................................................. 15
  19
  20 Khoja v. Orexigen Therapeutics, Inc.,
        498 F. Supp. 3d 1296 (S.D. Cal. 2020) ................................................................ 9
  21
     Leadsinger, Inc. v. BMG Music Pub.,
  22    512 F.3d 522 (9th Cir. 2008) .............................................................................. 15
  23
     Masterson v. Walt Disney Co.,
  24    821 F. App'x 779 (9th Cir. 2020) ....................................................................... 12
  25 McDonald v. West,
  26       138 F. Supp. 3d 448 (S.D.N.Y. 2015), aff'd, 669 F. App'x 59 (2d Cir.
           2016) ............................................................................................................. 13, 17
  27
  28 Morrill v. Stefani,
       338 F. Supp. 3d 1051 (C.D. Cal. 2018) ........................................................ 11, 17
                                            5                             Case No. 2:21-cv-02840-AB-AFM
         BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
            SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 6 of 22 Page ID #:2989



   1 Newton v. Diamond,
         204 F. Supp. 2d 1244 (C.D. Cal. 2002) .............................................................. 16
   2
   3 In re NVIDIA Corp. Sec. Litig.,
         768 F.3d 1046 (9th Cir.2014) ............................................................................... 8
   4
     Rentmeester v. Nike, Inc.,
   5
         883 F.3d 1111 (9th Cir. 2018), overruled on other grounds by
   6     Skidmore ............................................................................................................. 12
   7 Skidmore v. Led Zeppelin,
   8    952 F.3d 1051 (9th Cir. 2020) (en banc) .......................................... 11, 17, 18, 19
   9 Swirsky v. Carey,
        376 F.3d 841 (9th Cir. 2004) .............................................................................. 18
  10
  11 Tartan Films USA v. U2 Home Entm’t, Inc.,
        2006 WL 8434411 (C.D. Cal. May 17, 2006) .................................................... 21
  12
  13 Weisbuch v. Cnty. of Los Angeles,
        119 F.3d 778 (9th Cir. 1997) .............................................................................. 14
  14
     YZ Prods., Inc. v. Redbubble, Inc.,
  15    545 F.Supp.3d 756 (N.D. Cal. 2021).................................................................. 20
  16
     Other Authorities
  17
     Fed. R. Civ. P. 8(a) .................................................................................................. 20
  18
  19 Fed. R. Civ. P. 12(b)(6) ..................................................................................... 13, 20
  20 L.R. 11-5.1 ............................................................................................................... 13
  21 https://www.collinsdictionary.com/us/dictionary/english/rhythm-section ............. 16
  22 https://www.merriam-webster.com/dictionary/drum .............................................. 16
  23
        https://www.merriam-webster.com/dictionary/reggaeton (last accessed
  24       on June 8, 2023).................................................................................................... 7
  25 3 Patry on Copyright § 9:86.50 ............................................................................... 12
  26
        Unlicensed Sampling Disputes, 83 UMKC L. Rev. 339, 339 (2014) ....................... 7
  27
  28

                                                                      6
                                                                Case No. 2:21-cv-02840-AB-AFM
          BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
             SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 7 of 22 Page ID #:2990



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Plaintiffs’2 operative Second Consolidated Amended Complaint (“SCAC”)—
   4 their third attempt at a consolidated complaint in this action—impermissibly seeks to
   5 monopolize practically the entire reggaeton musical genre 3 for themselves by
   6 claiming copyright ownership of certain legally irrelevant and/or unprotectable,
   7 purported musical composition elements that Plaintiffs allege have been interpolated
   8 and/or sampled by over 100 artists/songwriters in over 1,600 songs 4.
   9        As to their musical composition infringement claims, Plaintiffs assert that
  10 Steely and Clevie—through their songs “Fish Market” and “Dem Bow” (which itself
  11 allegedly interpolates “Fish Market”)—are the progenitors and owners of certain
  12 allegedly appropriated elements thereof—namely rhythm (referred to herein as the
  13 “Dem Bow Rhythm”), the choice of instruments to play the Dem Bow Rhythm, the
  14
  15
  16 2 “Plaintiffs” refers individually and collectively to Plaintiffs Cleveland Constantine
     Browne p/k/a Clevie; Anika Johnson, as personal representative and executor of the
  17 Estate of Wycliff Johnson p/ka Steely; Steely & Clevie Productions Ltd; and Carl
  18 Gibson, as personal representative and executor of the Estate of Ephraim Barrett. In
     this brief, the late Mr. Johnson (or his successors, as applicable) and Mr. Browne are
  19 referred to by their duo p/k/a of “Steely and Clevie.”
  20 The reggaeton genre can be simply defined as “popular music of Puerto Rican
     3

     origin that combines rap with Caribbean rhythms.” https://www.merriam-
  21 webster.com/dictionary/reggaeton (last accessed on June 8, 2023).
  22 4 “‘Sampling’ involves the incorporation of copies of a portion of a sound recording
     in a new work and must be distinguished from ‘interpolation’ or re-performance of a
  23 musical [composition] passage from an earlier work.” Alexander Stewart, Been
     Caught Stealing: A Musicologist's Perspective on Unlicensed Sampling Disputes, 83
  24 UMKC L. Rev. 339, 339 (2014). Although Plaintiffs appear to assert that
  25 Defendants Rimas Music, LLC (“Rimas”) and musical artist/songwriter Benito
     Antonio Martinez Ocasio p/k/a Bad Bunny (“Bad Bunny”) are liable for interpolating
  26 musical composition elements into a number of songs, a small subset of which are
     alleged to contain samples, Section IV.A. of this Motion is not directed at the
  27 sampling claims, but rather is specifically directed at the lack of protectability as to
  28 the musical composition elements that Plaintiffs assert have been interpolated. That
     being said, Rimas and Bad Bunny deny any sampling on their part.
                                                 7           Case No. 2:21-cv-02840-AB-AFM
       BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
          SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 8 of 22 Page ID #:2991



   1 synthesized sound of parts of the Dem Bow Rhythm, and the “timbre” of the Dem
   2 Bow Rhythm5.
   3           Ostensibly recognizing the lack of compositional protectability of the Subject
   4 Elements, Plaintiffs erect a façade of protectability by including within the Subject
   5 Elements elements that are compositionally irrelevant under Ninth Circuit law,
   6 namely the choice of instruments, any synthesized sounds, and the timbre of the Dem
   7 Bow Rhythm. Once that veneer is stripped off, all that remains is the Dem Bow
   8 Rhythm (including its allegedly “minimalistic pattern” of a bass line6) 7. However,
   9 the Dem Bow Rhythm is unprotectable as “courts have been consistent in finding
  10 rhythm to be unprotectable.” Batiste v. Najm, 28 F. Supp. 3d 595, 616 (E.D. La.
  11 2014) (collecting authorities). And, given that the unprotectable Dem Bow Rhythm
  12 is the single remaining compositional element within the Subject Elements, that lack
  13 of numerosity precludes any “selection and arrangement” protectability argument
  14 that Plaintiffs may try to conjure up 8.
  15           Additionally, the Dem Bow Rhythm lacks protectability as a matter of law
  16 because as admitted by allegations in the SCAC and excerpts from a book, entitled
  17 Reggaeton, incorporated by reference therein 9, the Dem Bow Rhythm is a basic
  18
  19   These elements are referred to herein individually and collectively (i.e., in whole or
       5

     in part) as the “Subject Elements.”
  20 6 See, e.g., SCAC ¶331.
  21 7 For purposes of this Motion only, Rimas and Bad Bunny accept as true the
  22 allegations in the SCAC that Steely and Clevie are the creators of the rhythm referred
     herein as the “Dem Bow Rhythm.” However, Rimas and Bad Bunny contend that
  23 the true facts are that such rhythm predates Steely and Clevie by many years.
  24 The result is the same even if arguendo the “minimalistic pattern” of a bass line
     8

     were deemed a second, unprotectable element. See Section IV.A.1, infra.
  25 9 See SCAC ¶¶181, 181 n.3 (citing Wayne Marshall, et al., Reggaeton, pp. 36-48,
  26 Duke University Press (2009)). Copies of the cover of Reggaeton and the pages
     cited by the SCAC are attached to the Freundlich Decl. as Exh. A. See In re NVIDIA
  27 Corp. Sec. Litig., 768 F.3d 1046, 1058 n. 10 (9th Cir.2014) (“Once a document is
     deemed incorporated by reference, the entire document is assumed to be true for
  28 purposes of a motion to dismiss, and both parties—and the Court—are free to refer to

                                                   8             Case No. 2:21-cv-02840-AB-AFM
           BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
              SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 9 of 22 Page ID #:2992



   1 building block of the reggaeton genre. Thus, the Dem Bow Rhythm constitutes
   2 unprotectable scenes a faire.
   3        Because Plaintiffs cannot meet their burden to identify (despite this being their
   4 third attempt at a consolidated complaint) any plausibly protectable compositional
   5 elements that have been appropriated and/or because Plaintiffs’ only compositionally
   6 relevant element—the Dem Bow Rhythm—is unprotectable scenes a faire as a
   7 matter of law, the musical composition infringement claims in the SCAC should be
   8 dismissed with prejudice and without leave to amend 10.
   9        In sum, the compositional irrelevance and unprotectability of the Subject
  10 Elements bar as a matter of law Plaintiffs’ musical composition infringement claims
  11 against moving Defendants Bad Bunny and Rimas, and more broadly, Plaintiffs’
  12 transparent efforts to stake monopolistic control over the reggaeton genre.
  13 II.    BRIEF SUMMARY OF PLAINTIFFS’ ALLEGATIONS
  14        The SCAC alleges that in 1989, Steely and Clevie co-wrote an instrumental
  15 song, called “Fish Market,” for which they allegedly own the copyrights in the
  16 musical composition and sound recording thereof. SCAC ¶179. Plaintiffs further
  17 allege that the following Subject Elements are original to “Fish Market”:
  18               “Fish Market [features] an original drum pattern that
  19               differentiates it from prior works. Fish Market features, inter
  20               alia, a programmed kick, snare, and hi-hat playing a one bar
  21               pattern; percussion instruments, including a tambourine playing
  22               through the entire bar, a synthesized ‘tom’ playing on beats one
  23               and three, and timbales that play a roll at the end of every
  24
  25 any of its contents.”); see also Khoja v. Orexigen Therapeutics, Inc., 498 F. Supp. 3d
  26 1296, 1308 (S.D. Cal. 2020) (on motion to dismiss, proper for Court to consider a
     single reference if such reference “‘is relatively lengthy’”) (quoting Khoja v.
  27 Orexigen Therapeutics, Inc., 899 F.3d 988, 1003 (9th Cir. 2018)).
  28
     10
        In Section IV.B., infra, Bad Bunny and Rimas also argue that the SCAC should be
     dismissed in whole or in part due to certain pleading deficiencies.
                                                 9           Case No. 2:21-cv-02840-AB-AFM
       BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
          SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 10 of 22 Page ID #:2993



    1              second bar and free improvisation over the pattern for the
    2              duration of the song; and a synthesized Bb (b-flat) bass note on
    3              beats one and three of each bar, which follows the
    4              aforementioned synthesized ‘tom’ pattern.”
    5 SCAC ¶180.
    6        Additionally, Plaintiffs bootstrap within the Subject Elements the bass line of
    7 the rhythm (which is described by Plaintiffs as a “minimalistic pattern”) and the
    8 “timbre.” See, e.g., SCAC ¶¶329-369.
    9        Plaintiffs allege that Steely and Clevie subsequently co-authored with Shabba
  10 Ranks a song entitled, “Dem Bow,” the copyright in which Plaintiffs claim to co-own
  11 with Shabba Ranks. SCAC ¶181. Plaintiffs further allege that the “instrumental of
  12 the song ‘Dem Bow’…incorporates the ‘Fish Market’ composition” and “is iconic
  13 and has been widely copied in songs in the reggaeton genre.” SCAC ¶¶181 n. 3
  14 (citing Reggaeton book at pp. 36-48); 181-182.
  15         Plaintiffs assert that over 1,600 songs—created by over 100 artist/songwriter
  16 Defendants and purportedly exploited by additional music publisher and record label
  17 Defendants—infringe Plaintiffs’ copyrights by interpolating and/or sampling the
  18 Subject Elements. See generally SCAC; SCAC, Exh. A.
  19         Bad Bunny and Rimas are two of these Defendants and are alleged to have
  20 interpolated, caused to be interpolated 11, and/or exploited the interpolations of the
  21 Subject Elements in a total of 77 songs, of which 13 songs (i.e., the recordings
  22 thereof) are alleged to contain samples of the Subject Elements. See generally
  23 SCAC, Exh. A.
  24
  25
  26
  27 11 It is worth noting, however, that the SCAC’s claim for secondary liability is
  28 nevertheless inadequately pled and thus subject to dismissal for this reason as well.
     See Section IV.B.3., infra.
                                                 10           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 11 of 22 Page ID #:2994



    1 III.   LEGAL STANDARDS
    2        A.    The Governing Substantive Standard of Substantial Similarity and
    3              Plaintiffs’ Concomitant Burden as to the Dispositive Extrinsic Test
    4              Component Thereof
    5        Under governing copyright law principles, the “hallmark of unlawful
    6 appropriation is that the works share substantial similarity.” Skidmore v. Led
    7 Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (en banc) (emphasis in original)12.
    8        In order to demonstrate substantial similarity, a plaintiff must satisfy both the
    9 so-called “extrinsic test”—which is at issue by this Motion and “which presents
  10 questions of law to be resolved by the Court”—and the so-called “intrinsic test”—
  11 “which presents a question of fact” and is not at issue by this Motion. Gray v. Perry,
  12 2020 WL 1275221, at *4 (C.D. Cal. Mar. 16, 2020) (“Gray I”), affirmed by Gray v.
  13 Hudson, 28 F.4th 87 (9th Cir. 2022) (“Gray II”). Notably, “[i]f plaintiffs cannot
  14 satisfy the extrinsic test, for any reason, the inquiry ends and defendants will be
  15 entitled to judgment as a matter of law.” Id.; see also Gray II, 28 F.4th at 97
  16 (“Crucially, …the extrinsic test is objective and is often resolved as a matter of
  17 law.”).
  18         Under the extrinsic test, Plaintiffs “must…demonstrate the copying of
  19 protected expression.” Morrill v. Stefani, 338 F. Supp. 3d 1051, 1058 n. 8 (C.D. Cal.
  20 2018); see also Gray II, 28 F.4th at 97 (extrinsic test “focuses on ‘the protectible
  21 elements, standing alone, ... and disregard[s] the non-protectible elements’”) (quoting
  22 Skidmore, 952 F.3d at 1070) (cleaned up).
  23         Most germane for this Motion, “[i]t remains a copyright plaintiff’s burden to
  24 establish which elements of its work are protected.” Gray I, 2020 WL 1275221, at
  25 *5 n. 3. This is particularly so in musical copyright cases because “[m]usic, perhaps
  26
  27 12 See also id. (“[A] copyright infringement [claim] requires [a plaintiff] to show that
  28 (1) he owns a valid copyright in [the subject works]; and (2) that [the defendant(s)]
     copied protected expression of the work[s].”) (emphasis added).
                                                 11           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 12 of 22 Page ID #:2995



    1 more than any other work of art, ‘borrows, and must necessarily borrow, and use
    2 much which was well known and used before.’” Id. at *4 (quoting Campbell v.
    3 Acuff-Rose Music, Inc., 510 U.S. 569, 575 (1994)). “For this reason, courts in
    4 musical copyright cases have a significant obligation to strike a ‘balance between the
    5 First Amendment and the Copyright Act’—to ‘encourage[ ] others to build freely
    6 upon the ideas and information conveyed by a work,’ and at the same time motivate
    7 creative activity—by carefully limiting the scope of copyright protection to truly
    8 original expression only.” Id. (internal citation omitted) (quoting Feist Publications,
    9 Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 349-50 (1991)) (citing also Bikram's Yoga
  10 Coll. of India, L.P. v. Evolation Yoga, LLC, 803 F.3d 1032, 1037 (9th Cir. 2015)).
  11         “If the only concrete similarities between the two works relate to elements not
  12 protected by copyright…, then there can be no infringement.” Erickson v. Blake, 839
  13 F. Supp. 2d 1132, 1136 n. 4 (D. Or. 2012).
  14         B.     Under Controlling Ninth Circuit Precedent, Dismissing Plaintiffs’
  15                Musical Composition Infringement Claims at the Pleading Stage is
  16                Appropriate
  17         The Ninth Circuit has endorsed pleading-stage dismissals in copyright cases
  18 where, as here, “[n]othing disclosed during discovery could alter the fact that the
  19 allegedly infringing works are as a matter of law not substantially similar [to
  20 plaintiffs’ works.]” Rentmeester v. Nike, Inc., 883 F.3d 1111, 1123 (9th Cir. 2018),
  21 overruled on other grounds by Skidmore. For example, dismissal is appropriate
  22 where, as here, “as a matter of law the [alleged] similarities between the two works
  23 are only in uncopyrightable material….,” 3 Patry on Copyright § 9:86.50, and thus
  24 Plaintiffs do not state a plausible claim for relief, see Masterson v. Walt Disney Co.,
  25 821 F. App'x 779, 781 (9th Cir. 2020) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679
  26
  27
  28

                                                 12           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 13 of 22 Page ID #:2996



    1 (2009)).13 And, Courts within and outside the Ninth Circuit have granted Rule
    2 12(b)(6) motions to dismiss in music copyright cases. See, e.g., Erickson, 839 F.
    3 Supp. 2d at 1133-1140; McDonald v. West, 138 F. Supp. 3d 448 (S.D.N.Y. 2015),
    4 aff'd, 669 F. App'x 59 (2d Cir. 2016).
    5        In Gray II, the Ninth Circuit recently articulated that discovery (specifically,
    6 expert testimony) is not required to determine lack of protectability as to musical
    7 composition elements, but rather it can be determined with reference to “precedents
    8 and other persuasive decisions.” See Gray II, 28 F.4th at 98 (“Even leaving aside
    9 these admissions [by plaintiffs’ expert], our precedents and other persuasive
  10 decisions make clear that no element identified by plaintiffs…is individually
  11 copyrightable.”). As demonstrated hereinbelow (Section IV.A.1), dismissal as to
  12 Plaintiffs’ musical composition infringement claims is warranted here because case
  13 law makes clear that Plaintiffs have not and cannot plausibly allege appropriation of
  14 copyrightable musical composition elements.
  15         Dismissal at the pleading stage is also mandated here under Ninth Circuit case
  16 law because—as discussed further hereinbelow (Section IV.A.2)—the allegations of
  17 the SCAC and the Reggaeton excerpts incorporated by reference therein 14 “establish
  18
  19 13
        Although the lack of plausible substantial similarity here due to the non-
  20 protectability of the Subject Elements can be determined by scrutinizing the SCAC
     against the backdrop of applicable case law, Bad Bunny and Rimas nevertheless are
  21 lodging with the Court audio files of Plaintiffs’ alleged songs (“Fish Market” and
     “Dem Bow”) and the allegedly infringing songs (except for “Tusa” and “Un
  22 Bellaqueo,” which could not be located by the time of filing this Motion) for which
  23 Bad Bunny is alleged to be the “Primary Artist” and/or for which Rimas and/or Bad
     Bunny are listed as “Involved Defendants.” See SCAC Exh. A and Notice of Manual
  24 Lodging filed concurrently herewith (listing these songs, which are being lodged
     with the Court on a flash drive pursuant to L.R. 11-5.1 and which will be served on
  25 counsel for the parties via e-mailed download link); see also Freundlich Decl. ¶5.
  26 Bad Bunny and Rimas are doing this out of an abundance of caution, just in case
     arguendo it were a per se requirement for all Rule 12(b)(6) substantial similarity
  27 determinations  that the works be “before the court, capable of examination and
     comparison.” Christianson v. W. Pub. Co., 149 F.2d 202, 203 (9th Cir. 1945).
  28 14
        See footnote 9, supra.
                                                 13           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 14 of 22 Page ID #:2997



    1 facts compelling a decision” that the only compositionally relevant element—the
    2 Dem Bow Rhythm—constitutes unprotectable scenes a faire. Weisbuch v. Cnty. of
    3 Los Angeles, 119 F.3d 778, 783 (9th Cir. 1997) (“Whether the case can be dismissed
    4 on the pleadings depends on what the pleadings say. A plaintiff may plead herself out
    5 of court. If the pleadings establish facts compelling a decision one way, that is as
    6 good as if depositions and other expensively obtained evidence on summary
    7 judgment establishes the identical facts.”) (citation, quotation marks, and brackets
    8 omitted); see also Fed. R. Civ. P. 1 (The Federal Rules of Civil Procedure “should be
    9 construed, administered, and employed by the court…to secure the just, speedy, and
  10 inexpensive determination of every action and proceeding.”).
  11 IV.     LEGAL ARGUMENT
  12         A.     The Court Should Dismiss the SCAC’s Claims as to any Copyright
  13                Infringement of Plaintiffs’ Musical Compositional Material Because
  14                the Allegedly Appropriated Subject Elements Are Not
  15                Compositionally Relevant or Protectable
  16         Plaintiffs’ claims that Bad Bunny and Rimas infringed the copyright in
  17 Plaintiffs’ musical compositional material fail for at least two reasons, discussed
  18 briefly immediately below and in more detail in the subsections below.
  19         First, attempting to cloak the compositionally unprotectable nature of the
  20 Subject Elements, Plaintiffs include within the Subject Elements multiple
  21 performance and/or recording elements (i.e., choice of instrument used to play
  22 certain notes, synthesized sounds, and timbre) that under controlling Ninth Circuit
  23 authority are completely irrelevant when analyzing the protectability of musical
  24 compositional material. Once the Subject Elements are defrocked of these
  25 compositionally irrelevant elements, what remains is rhythm (i.e., the Dem Bow
  26 Rhythm) (including the purported bass line thereof consisting of “a minimalistic
  27
  28

                                                 14           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 15 of 22 Page ID #:2998



    1 pattern”). Courts within and outside the Ninth Circuit have found the element of
    2 rhythm to be a non-copyrightable element. 15
    3        Second, even if arguendo rhythm were otherwise potentially protectable, the
    4 Dem Bow Rhythm (i.e., the only compositionally relevant element of the Subject
    5 Elements) is unprotectable scenes a faire as admitted by Plaintiffs’ own pleadings.
    6 Plaintiffs have sued over 100 artists/songs for over 1,600 songs that allegedly contain
    7 the Dem Bow Rhythm. The broad metes and bounds of this lawsuit, combined with
    8 admissions made by the SCAC’s allegations and the Reggaeton book excerpts
    9 incorporated by reference therein, demonstrate that the Dem Bow Rhythm is a genre-
  10 defining building block of the reggaeton genre—i.e., unprotectable scenes a faire.
  11               1.     Plaintiffs’ Musical Composition Infringement Claims Must Be
  12                      Dismissed Because Plaintiffs Do Not (and Cannot) Plausibly
  13                      Allege Infringement of Any Protectable Compositional Material
  14         Unable to identify any musical composition elements among the Subject
  15 Elements potentially protectable by copyright law —such as melody or lyrics 16—
  16 Plaintiffs attempt in vain to meet their pleading burden by, in a smoke and mirrors
  17 approach, pointing to elements within the Subject Elements that are neither
  18 considered compositional elements nor are protected under the applicable case law.
  19         Reflecting the paucity of compositionally protectable elements here, Plaintiffs’
  20 enumeration of the Subject Elements is replete with “choice[s] of particular
  21 instrument[s]” to play various portion of the rhythm—such as “a programmed kick,
  22 snare, and hi-hat playing a one bar pattern,” “percussion instruments, including a
  23
  24 15 And, even assuming arguendo a “minimalistic pattern” of a bass line constituted
     its own additional element, that too is an unprotectable element according to case
  25 law. With one or arguendo maybe two unprotectable compositional elements in
  26 play, there is as a matter of law a lack of numerosity of those elements and thus there
     cannot be any “selection and arrangement” protectability.
  27 16 See, e.g., Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 527 (9th Cir. 2008)
  28 (infringement of lyrics); Henley v. DeVore, 733 F. Supp. 2d 1144, 1163 (C.D. Cal.
     2010) (infringement of melody and lyrics).
                                                15            Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 16 of 22 Page ID #:2999



    1 tambourine playing through the entire bar,” etc. SCAC ¶180. Under governing
    2 Ninth Circuit law, such instrumental “choices” are wholly irrelevant as to the
    3 copyright in a musical composition and thus are not protectable elements thereof.
    4 See Gray II, 28 F.4th at 99 (“[T]he choice of a particular instrument to play a tune
    5 relates to the performance or recording of a work” and not to the musical
    6 composition underlying such performance or recording.) (citing, inter alia, Newton v.
    7 Diamond, 204 F. Supp. 2d 1244, 1258 (C.D. Cal. 2002)), aff'd, 388 F.3d 1189 (9th
    8 Cir. 2004) (distinguishing between “elements protected by [the plaintiff's] copyright
    9 over the musical composition” at issue and “those attributable to his performance of
  10 the piece or the sound recording”)).
  11         Likewise, the use of synthesized sounds is similarly compositionally
  12 irrelevant. See Gray II, 28 F.4th at 99 (“But a copyright to a musical work does not
  13 give one the right to assert ownership over the sound of a synthesizer any more than
  14 the sound of a trombone or a banjo.”). So is “timbre.” See id. (noting that “timbre is
  15 a way of describing a sound’s quality” and is thus compositionally irrelevant).
  16         Once those compositionally irrelevant elements of the Subject Elements are
  17 filtered out, all that remains is the Dem Bow Rhythm resulting from the drum (i.e.,
  18 the “drum pattern”) and bass (i.e., the “minimalistic pattern” bass line). 17 See, e.g.,
  19 SCAC ¶¶180, 329-369. However, “courts have been consistent in finding rhythm to
  20 be unprotectable.” Batiste v. Najm, 28 F. Supp. 3d 595, 616 (E.D. La. 2014)
  21 (collecting authorities); accord Gray I, 2020 WL 1275221, at *7 (citing, inter alia,
  22 Najm and holding that an “evenly-syncopated rhythm…is…not a protectable
  23 element”). While Plaintiffs might try to argue that “bass line” is an additional
  24 element—even though it is plainly part of unprotectable rhythm—that would be of
  25
  26 17 See, e.g., https://www.merriam-webster.com/dictionary/drum (defining
     “drumming” as “to throb or sound rhythmically”) (last accessed on June 6, 2023);
  27 https://www.collinsdictionary.com/us/dictionary/english/rhythm-section (defining
  28 “rhythm section” as “usually consist[ing] of bass and drums) (last accessed on June
     6, 2023).
                                                 16           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 17 of 22 Page ID #:3000



    1 no help to them since a bass line consisting of a “minimalistic pattern” is
    2 unprotectable in any event. See McDonald, 138 F. Supp. 3d at 458 (“The fourth
    3 allegation cannot be the basis for substantial similarity because musical compositions
    4 without a strong bass line are common. Plaintiff cannot own the absence of bass.”);
    5 see also Gray II, 28 F.4th at 99 (abstract similarities not “legally cognizable”).
    6        Finally, without any protectable, compositionally relevant elements within the
    7 Subject Elements, Plaintiffs will undoubtedly assert protectability based upon a
    8 “selection and arrangement” theory. See Morrill, 338 F. Supp. 3d at 1061 (“But ‘a
    9 combination of unprotectable elements is eligible for copyright protection only if
  10 those elements are numerous enough and their selection and arrangement original
  11 enough that their combination constitutes an original work of authorship.’”) (quoting
  12 Satava v. Lowry, 323 F.3d 805, 811 (9th Cir. 2003)). Plaintiffs’ efforts, however,
  13 will be fruitless. Here, whether Plaintiffs are deemed to have identified one or two
  14 compositionally relevant non-protectable elements, such lack of numerosity is fatal
  15 to Plaintiffs’ expected “selection and arrangement” argument. See, e.g., id. (finding
  16 three non-protectable musical composition elements to lack requisite numerosity for
  17 protectable “selection and arrangement”) (citing Satava, 323 F.3d at 811 (holding
  18 similarity of six different elements “lacks the quantum of originality needed to merit
  19 copyright protection”)).
  20                2.    Plaintiffs’ Musical Composition Infringement Claims Also Fail
  21                      Because Such Claims Rely Upon Unprotectable Scenes a Faire
  22         Plaintiffs’ lawsuit—which seeks musical composition copyright protection for
  23 the Dem Bow Rhythm, which is allegedly found in over 1,600 purportedly infringing
  24 songs (see generally SCAC and Exh. A thereto)—runs afoul of a cardinal principle
  25 that copyright protection does not extend to “‘commonplace elements that are firmly
  26 rooted in the genre's tradition.’” Skidmore, 952 F.3d at 1069 (quoting Williams v.
  27 Gaye, 895 F.3d 1106, 1140-41 (9th Cir. 2018) (Nguyen, J., dissenting)). “Under the
  28 scenes a faire doctrine, when certain commonplace expressions are indispensable

                                                 17           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 18 of 22 Page ID #:3001



    1 and naturally associated with the treatment of a given idea, those expressions are
    2 treated like ideas and therefore not protected by copyright.” Swirsky v. Carey, 376
    3 F.3d 841, 850 (9th Cir. 2004).
    4        Here, the Dem Bow Rhythm’s status as scenes a faire is established by the
    5 allegations of the SCAC and the Reggaeton book excerpts incorporated by reference
    6 therein. With the following allegations from the SCAC, Plaintiffs have expressly
    7 pled themselves out of Court vis-à-vis their compositional infringement claims 18:
    8        (1)   Suing over 100 artists/songwriters (as well as their alleged publishers
    9              and record labels) for allegedly interpolating the Dem Bow Rhythm in
  10               over 1,600 songs. See, e.g., SCAC ¶¶173-677;
  11         (2)   Alleging that Steely and Clevie “worked on numerous genre-defining
  12               projects.” SCAC ¶175; and
  13         (3)   Alleging that the instrumental of “Dem Bow”—which was purportedly
  14               co-authored by Steely and Clevie and non-party Shabba Ranks and
  15               allegedly “incorporates the ‘Fish Market’ composition”—“is iconic and
  16               has been widely copied in songs in the reggaeton music genre.” 19
  17               SCAC ¶¶181-182.
  18
  19
     18
        See p. 13, supra (citing, inter alia, Weisbuch, 119 F.3d at 783 (“A plaintiff may
  20 plead herself out of court. If the pleadings establish facts compelling a decision one
  21 way, that is as good as if depositions and other expensively obtained evidence on
     summary judgment establishes the identical facts.”)) (citation, quotation marks, and
  22 brackets omitted).
  23
     19
        Plaintiffs also allege that the Dem Bow Rhythm is “original,” consisting of an
     “original drum pattern that differentiates it from prior works.” SCAC ¶180. Rimas
  24 and Bad Bunny dispute that the rhythm referred to as the Dem Bow Rhythm was
     created by Steely and Clevie. But, even assuming arguendo—for purposes of this
  25 Motion only—that the Dem Bow Rhythm were first authored by Steely and Clevie,
  26 that would not change the legal reality that the Dem Bow Rhythm constitutes scenes
     a faire. See Skidmore, 952 F.3d at 1069 (“Authors borrow from predecessors' works
  27 to create new ones, so giving exclusive rights to the first author who incorporated an
     idea, concept, or common element would frustrate the purpose of the copyright law
  28 and curtail the creation of new work.”) (citing, inter alia, 1 Nimmer § 2.05[B] (“In

                                                18            Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 19 of 22 Page ID #:3002



    1        The Dem Bow Rhythm’s unquestionable scenes a faire status is further
    2 reinforced by the Reggaeton book that the SCAC expressly incorporates by
    3 reference. See SCAC ¶¶181, 181 n.3; Freundlich Decl. Exh. A at 38 and 40. In
    4 particular, the following excerpts from Reggaeton are demonstrative:
    5        (1)   “A minimal drum track with a hint of Latinesque percussion and a
    6              unique timbral profile, Bobby ‘Digital’ Dixon’s Dem Bow riddim—i.e.,
    7              the instrumental underlying Shabba Ranks’s ‘Dem Bow’ (1991),
    8              performed and recorded by the production duo Steely and Clevie—
    9              became such a ubiquitous feature of underground mixes that, especially
  10               in the mid- to late 1990s, one of the most common terms used to
  11               describe the genre was simply dembow. Before long, at least for some,
  12               the term came to refer more generally to the music’s prevailing
  13               rhythmic structure, the boom-ch-boom-chick that has defined Puerto
  14               Rican reggaeton since the early ’90s.” Freundlich Decl. Exh. A at 38
  15               (italics in original); and
  16         (2)   “Indeed, the creation of reggaeton’s foundational style and its veritable
  17               canon of samples, including the elevation of Dem Bow to basic
  18               building block, can largely be attributed to the long shadows cast by
  19               [two early reggaeton DJs.]” Id. at 40 (bold supplied for emphasis); see
  20               Skidmore, 952 F.3d at 1069 (“[B]uilding blocks belong in the public
  21               domain and cannot be exclusively appropriated by any particular
  22               author.”) (emphasis added).
  23
  24
  25
  26
  27
  28 the field of popular songs, many, if not most, compositions bear some similarity to
     prior songs.”)).
                                                 19           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 20 of 22 Page ID #:3003



    1        B.    The SCAC is Also Subject to Dismissal in Whole or in Part Due to
    2              Certain Pleading Defects
    3              1.     Impermissible Shotgun Pleading
    4        The SCAC is subject to dismissal because it engages in “shotgun pleading” by
    5 lumping together multiple defendants without alleging specific facts as to each
    6 defendant purportedly demonstrating liability for that defendant. See, e.g., SCAC
    7 ¶¶661-683. As articulated in 6 Patry on Copyright § 19:9: “Because liability must be
    8 established separately for each defendant, Fed. R. Civ. P. 8(a) requires adequate
    9 pleading for each defendant: lumping all defendants together with only general
  10 allegations is insufficient.”
  11               2.     Inadequate Pleading of Which Portions of Plaintiffs’ Songs Have
  12                      Purportedly Been Infringed
  13         While for some of the songs through which Rimas and Bad Bunny are alleged
  14 to have infringed the Subject Elements Plaintiffs have provided musical charts
  15 comparing those songs to the “Fish Market” musical composition, they have not
  16 done so for many other allegedly infringing songs associated with Rimas and Bad
  17 Bunny. See, e.g., SCAC ¶¶329-369. Such generic pleading as to the purported
  18 infringement by these latter songs is insufficient to survive a Rule 12(b)(6) motion.
  19 See, e.g., Campbell v. Walt Disney Co., 718 F. Supp. 2d 1108, 1113–14 (N.D. Cal.
  20 2010) (dismissing copyright Complaint where “general allegation” regarding
  21 similarity in dialogue “does not plead sufficient facts to support a finding of
  22 substantially similar dialogue”).
  23               3.     Inadequate Pleading of Secondary Liability
  24         The SCAC’s Second Claim for Relief for Vicarious and/or Contributory
  25 Copyright Infringement (i.e., SCAC ¶¶678-683) is also subject to dismissal because,
  26 inter alia, Plaintiffs fail to “allege facts to support the conclusion that [Bad Bunny
  27 and Rimas] had knowledge of specific acts of third-party infringement.” YZ Prods.,
  28

                                                 20           Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 21 of 22 Page ID #:3004



    1 Inc. v. Redbubble, Inc., 545 F.Supp.3d 756, 763 (N.D. Cal. 2021) (quotation marks
    2 and set of brackets omitted).
    3        The SCAC’s Second for Relief for Vicarious and/or Contributory Copyright
    4 Infringement is also subject to dismissal insofar as the Court dismisses any of
    5 Plaintiffs’ claims of primary infringement, whether for the reasons hereinabove or
    6 otherwise. A&M Records v. Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th Cir. 2000)
    7 (“Secondary liability for copyright infringement does not exist in the absence of
    8 direct infringement by a third party.”).
    9 V.     CONCLUSION
  10         For the foregoing reasons, Bad Bunny and Rimas respectfully submit that the
  11 instant Motion to Dismiss should be granted and that the SCAC—which is Plaintiffs’
  12 third attempt at a consolidated complaint—should be dismissed, in whole or in part,
  13 with prejudice and without leave to amend. See Tartan Films USA v. U2 Home
  14 Entm’t, Inc., 2006 WL 8434411, at *2 (C.D. Cal. May 17, 2006) (“‘[L]eave to amend
  15 may be denied if it appears to be futile or legally insufficient.’”) (quoting Miller v.
  16 Rykoff-Sexton, 845 F.2d 209, 214 (9th Cir. 1988)).
  17 Dated: June 15, 2023
  18                                             FREUNDLICH LAW
  19
  20                                             BY: /s/ Kenneth D. Freundlich
                                                 Kenneth D. Freundlich
  21
                                                 Michael J. Kaiser
  22                                             Attorneys for Defendants
                                                 RIMAS MUSIC, LLC and BENITO
  23
                                                 ANTONIO MARTINEZ OCASIO P/K/A
  24                                             BAD BUNNY
  25
  26
  27
  28

                                                   21         Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:21-cv-02840-AB-AFM Document 330 Filed 06/15/23 Page 22 of 22 Page ID #:3005



    1                 CERTIFICATE OF COMPLIANCE (L.R. 11-6.2)
    2        The undersigned, counsel of record for Defendants Rimas Music, LLC and
    3 Benito Antonio Martinez Ocasio p/k/a Bad Bunny, certifies that this brief contains
    4 4,676 words, which complies with the limit of L.R. 11-6.1.
    5
    6 Dated: June 15, 2023
    7                                       FREUNDLICH LAW
    8
    9                                       BY: /s/ Kenneth D. Freundlich
                                            Kenneth D. Freundlich
  10
                                            Michael J. Kaiser
  11                                        Attorneys for Defendants
                                            RIMAS MUSIC, LLC and BENITO
  12
                                            ANTONIO MARTINEZ OCASIO P/K/A
  13                                        BAD BUNNY
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               22             Case No. 2:21-cv-02840-AB-AFM
        BAD BUNNY AND RIMAS MUSIC’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’
           SECOND CONSOLIDATED AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
